                 So Ordered.

Dated: April 15th, 2022
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                           UNITED STATES BANKRUPTCY COURT
10                         EASTERN DISTRICT OF WASHINGTON
11
     In Re:
12                                                       Chapter 11
     EASTERDAY RANCHES, INC.
13   et. al.,                                            Lead Case No. 21-00141-WLH11
14                                                       Jointly Administered
                                       Debtors. 1
15                                                       ORDER GRANTING MOTION
                                                         FOR PAYMENT OF ADEQUATE
16                                                       PROTECTION AND, IN THE
                                                         ALTERNATIVE, RELIEF FROM
17                                                       STAY
18
19               THIS MATTER came before the court upon the motion (“Motion”) of Bank
20   of the West, (“BOTW”) for an order granting adequate protection pursuant to 11
21
     U.S.C. §§ 361 and 363 in the form of an immediate payment to BOTW for all
22
     sums due and owing from Easterday Farms, a Washington general partnership
23
     (“Easterday Farms”) to BOTW arising from the bankruptcy sale of a 2015 Mack
24
25   1
       The Debtors along with their case numbers are as follows: Easterday Ranches,
     Inc., (21-00141-WLH11) and Easterday Farms, a Washington general partnership
26   (21-00176-WLH11).
     ORDER - 1                                                            FOSTER GARVEY P.C.
                                                                         1111 THIRD AVENUE, SUITE 3000
                                                                        SEATTLE, WASHINGTON 98101-3292
                                                                      PHONE (206) 447-4400 FAX (206) 447-9700


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1    CHU613, VIN # 1M1AX07YXFM025968 (the “Truck”), and in the alternative, for
2    an order for relief from stay pursuant to 11 U.S.C. § 362(d)(1), Local Rule 4001
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     and Fed. R. Bankr. P. 4001, 9013, and 9014, to take collection action against
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     Easterday Farms for all sums due and owing from Easterday Farms to BOTW
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     under the terms of the loan and security documents for the Truck (“Loan
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7    Documents”).

8                The court having considered the Motion, the Declaration of Tyerone Tye
9    and exhibits thereto in support, the Declaration of Deborah A. Crabbe and exhibits
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     thereto in support, the agreement between BOTW and Easterday Farms evidence
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     by the signatures of below, and no objections to the Motion having been filed,
12
     NOW, THEREFORE, IT IS HEREBY
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14               ORDERED that the Motion [ECF No. 1504] is granted; it is further

15               ORDERED that Easterday Farms shall pay to BOTW all sums due and
16   owing to BOTW under the terms of the Loan Documents of $62,351.52 (the
17
     “Adequate Protection Amount”) by no later than seven days from the date of this
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     Order; it is further
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                 ORDERED that, upon payment to BOTW of the Adequate Protection
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21   Amount, BOTW shall be entitled to no further claims against Easterday Farms or

22   its bankruptcy estate in connection with the Truck or the Loan Documents; it is
23   further
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                 ORDERED that if payment of the Adequate Protection Amount is not made
25
     to BOTW within seven days of the date of this Order, BOTW shall be granted
26

     ORDER - 2                                                           FOSTER GARVEY P.C.
                                                                        1111 THIRD AVENUE, SUITE 3000
                                                                       SEATTLE, WASHINGTON 98101-3292
                                                                     PHONE (206) 447-4400 FAX (206) 447-9700


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1    relief from stay effective on eighth day from the date of this Order to commence
2    collection action against Easterday Farms for all sums due and owing to BOTW
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     under the terms of the Loan Documents; and it is further
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                 ORDERED that this order shall be effective immediately notwithstanding
5
     the provisions of F.R.B.P. 4001(a)(3) and that this order shall be effective as to any
6
7    chapter under which the present case may be converted absent further order of this

8    court.
9
10
                                        ///End of Order///
11
12   Presented by:
13   FOSTER GARVEY PC
14
15   /s/ Deborah A. Crabbe
     Deborah A. Crabbe, WSBA No. 22263
16   Attorneys for Bank of the West
17
18   Agreed as to form and entry
19   BUSH KORNFELD LLP
20
21   /s/ Thomas A. Buford, III
     THOMAS A. BUFORD, III (WSBA 52969)
22   BUSH KORNFELD LLP
23   RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
24   JEFFREY W. DULBERG (Admitted Pro Hac Vice)
     JASON H. ROSELL (Admitted Pro Hac Vice)
25   PACHULSKI STANG ZIEHL & JONES LLP
     Attorneys for Debtors and Debtors in Possession
26
     * Change made by court
     ORDER - 3                                                          FOSTER GARVEY P.C.
                                                                       1111 THIRD AVENUE, SUITE 3000
                                                                      SEATTLE, WASHINGTON 98101-3292
                                                                    PHONE (206) 447-4400 FAX (206) 447-9700


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